                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

DELPHI INVESTMENT GROUP, LLC, as )
assignee of Millennium Medical Trust, Inc., )
                                            )
    Plaintiff,                              )
                                            )             NO. 3:20-cv-00007
v.                                          )
                                            )             JUDGE CAMPBELL
PERRY COMMUNITY HOSPITAL, LLC, )                          MAGISTRATE JUDGE FRENSLEY
                                            )
    Defendant.                              )

                                             ORDER

        Pending before the Court is the Magistrate Judge’s Report and Recommendation (Doc. No.

40), which was filed on September 17, 2020. Through the Report and Recommendation, the

Magistrate Judge recommends that Defendant’s Motion to Set Aside Entry of Default (Doc. No.

30) be granted. Plaintiff filed a Notice (Doc. No. 41) stating it has no objection to the Report and

Recommendation.

        The Court has reviewed the Report and Recommendation and concludes it should be

adopted and approved. Accordingly, Defendant’s Motion to Set Aside Entry of Default (Doc. No.

30) is GRANTED and Plaintiff’s Motion for Default Judgment (Doc. No. 23) is DENIED as

moot.

        It is so ORDERED.

                                                         ________________________________
                                                         WILLIAM L. CAMPBELL, JR.
                                                         UNITED STATES DISTRICT JUDGE




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